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                                                                            FILED
                     UNITED STATES COURT OF APPEALS                            DEC 10 2018

                                                                         MOLLY C. DWYER, CLERK
                             FOR THE NINTH CIRCUIT                        U.S. COURT OF APPEALS




 UGOCHUKWU GOODLUCK                              No.    18-35753
 NWAUZOR and FERNANDO
 AGUIRRE-URBINA, individually and on             D.C. No. 3:17-cv-05769-RJB
 behalf of all those similarly situated,         Western District of Washington,
                                                 Tacoma
               Plaintiffs-Appellees,

 v.                                              ORDER

 THE GEO-GROUP, INC., a Florida
 corporation,

               Defendant-Appellant.


       Appellant’s motion to dismiss this appeal voluntarily (docket #13) is
granted. Fed. R. App. P. 42(b). This order served on the district court shall act as
and for the mandate of this court.


                                       FOR THE COURT:

                                       By: Chris Goelz
                                       Circuit Mediator

12/10/18/cg/mediation




CG/Mediation
